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         REILLY POZNER LLP
         1900 16th Street, Suite 1700
         Denver, Colorado 80202
         Telephone: (303) 893-6100
         Facsimile: (303) 893-6110
         Michael A. Rollin

         Attorneys for Debtors
         and Debtors in Possession

         UNITED STATES BANKRUPTCY COURT
         SOUTHERN DISTRICT OF NEW YORK
         -------------------------------------------------------------------x
         In re                                                              :   Chapter 11 Case No.
                                                                            :
         LEHMAN BROTHERS HOLDINGS INC., et al.                              :   08-13555 (JMP)
                                                                            :
                                            Debtors.                        :   (Jointly Administered)
         -------------------------------------------------------------------x

                            NOTICE OF ADJOURNMENT OF DEBTORS’
                       NINETY-SEVENTH OMNIBUS OBJECTION TO CLAIMS
                (INSUFFICIENT DOCUMENTATION) SOLELY AS TO CERTAIN CLAIMS

                          PLEASE TAKE NOTICE that the hearing on Debtors’ Ninety-Seventh Omnibus

         Objection to Claims (Insufficient Documentation) [Docket No. 14492] that was scheduled for

         March 22, 2012, at 10:00 a.m. (Prevailing Eastern Time), has been adjourned, solely as to the

         claims listed on Exhibit A attached hereto, to April 26, 2012 at 10:00 a.m. (Prevailing

         Eastern Time) (the “Hearing”), or as soon thereafter as counsel may be heard. The Hearing will

         be held before the Honorable James M. Peck, United States Bankruptcy Court, Alexander

         Hamilton Custom House, One Bowling Green, New York, New York, Room 601, and




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         such Hearing may be further adjourned from time to time without further notice other than an

         announcement at the Hearing.

         Dated: March 16, 2012

                                                 /s/ Michael A. Rollin
                                                 Michael A. Rollin
                                                 REILLY POZNER LLP
                                                 1900 16th Street, Suite 1700
                                                 Denver, Colorado 80202
                                                 Telephone: (303) 893-6100
                                                 Facsimile: (303) 893-6110

                                                 Attorneys for Debtors
                                                 and Debtors in Possession




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                                                            Exhibit A

                                                      Adjourned Claims:



                            Claimant Name                                               Claim Number

                Bank of America, National Association,                                        25648
               successor by merger to LaSalle Bank, N.A.
              U.S. Bank National Association Transferor:
                                                                                              19289
               Bank of America National Association 1


                                                                       15989, 15992, 15993, 15994, 15995, 15996,
             U.S. Bank National Association, and U.S. Bank
                                                                       16357, 16358, 16359, 16361, 16363, 16367,
              National Association as Trustee Transferor:
                                                                       16378, 16380, 16381, 16383, 16387, 16388,
                Bank of America, National Association 2
                                                                          16416, 16418, 24349, 24582, 25654



                                                                       15981, 15983, 15984, 15985, 15986, 15987,
                                                                       15988, 15997, 15998, 16349, 16351, 16352,
                                                                       16354, 16355, 16356, 16360, 16362, 16364,
                                                                       16365, 16366, 16368, 16369, 16370, 16371,
              U.S. Bank National Association Transferor:
                                                                       16372, 16374, 16375, 16376, 16384, 16385,
               Bank of America, National Association 3
                                                                       16386, 16390, 16391, 16393, 16394, 16395,
                                                                       16396, 16397, 16398, 16399, 16415, 16417,
                                                                       16419, 16420, 16421, 16422, 16423, 16424,
                                                                              16425, 16426, 16427, 16428

              Deutsche Bank, National Trust Company, as
                                                                                              18542
                              Trustee

                     Wilmington Trust Company 4                                               16382




         1
           Claim transferred by Bank of America National Association to U.S. Bank National Association pursuant to
         Transfer of Claims Other Than for Security filed May 31, 2011 [Docket No. 17234].
         2
           Claims transferred by Bank of America National Association to U.S. Bank National Association and U.S. Bank
         National Association, as Trustee pursuant to Transfer of Claims Other Than for Security filed June 20, 2011 [Docket
         No. 17904].
         3
           Claims transferred by Bank of America National Association to U.S. Bank National Association pursuant to
         Transfer of Claims Other Than for Security filed October 11, 2011 [Docket No. 20739].
         4
           Claim transferred by Bank of America National Association to Wilmington Trust Company pursuant to Transfer of
         Claims Other Than for Security filed December 13, 2011 [Docket No. 23280].
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